Case 3:21-cv-01237-B Document 1-3 Filed 05/28/21 Page1of22 PagelD 14

EXHIBIT “C”
2 @dgE8:21-cv-01237-B Document 1-3 Filed 05/28/21 Page 2of22 PagelD 15

 

DC-21-04367
CAUSE NO.

TROY MONTGOMERY, IN THE DISTRICT COURT

Plaintiff,

116th

V. . JUDICIAL DISTRICT
BRIAN HUNT AND KLLM TRANSPORT
SERVICES, LLC, DALLAS COUNTY, TEXAS

Defendants.

 

FILED

4/7/2021 9:10 AM
FELICIA PITRE
DISTRICT CLERK
DALLAS CO., TEXAS
Gay Lane DEPUTY

 

PLAINTIFF'S ORIGINAL PETITION AND REQUEST FOR DISCLOSURES
TO THE HONORABLE JUDGE OF SAID COURT:

COMES NOW, TROY MONTGOMERY, Plaintiff, and files Plaintiff's Original
Petition, complaining of BRIAN HUNT AND KLLM TRANSPORT SERVICES, LLC,

Defendants, and would show unto the Court as follows:

|. DISCOVERY PLAN
1. This suit is governed by discovery control plan II under Rule 190.3 of the
Texas Rules of Civil Procedure.
Il. PARTIES

2. Plaintiff, TROY MONTGOMERY, is an individual who resides at 1104 Rio

Vista Drive., DeSoto, Dallas County, Texas TX 75115.

3 Defendant, BRIAN HUNT, is an individual who resides at 1 Pinecrest Drive,

Fairmont, Robeson County, NC 28340, and may be served with process at that address.

Citation is requested for this Defendant and service will be completed by a private process

server.

4, Upon information and belief, Defendant, KLLM TRANSPORT SERVICES,

LLC is a Texas corporation that may be served with process through its registered agent

for service, C T Corporation System, at 1999 Bryan Street Suite 900, Dallas, TX 75201.

Citation is requested for this Defendant and service will be completed by a private process

server.

 

PLAINTIFF'S ORIGINAL PETITION/263T70 Page 1
Case 3:21-cv-01237-B Document 1-3 Filed 05/28/21 Page3of22 PagelD 16

Ill. JURISDICTION & VENUE
5; The Court has continuing jurisdiction over Defendants, because Defendant,
Brian Hunt, committed a tort within the State of Texas, and Defendant, KLLM Transport
Services, LLC, maintains substantial and continuing contacts with the State of Texas. The
Court has jurisdiction over the controversy, because the damages are within the statutory
jurisdictional limits of the Court.
6. Venue is proper in Dallas County, Texas, because all or a substantial part of
the events or omissions giving rise to the claim occurred in Dallas County.
IV. FACTS
f. This lawsuit results from an automobile collision that occurred on or about
July 14, 2019, at Interstate Highway 20 in Dallas, Dallas County, Texas. Plaintiff, Troy
Montgomery, was a passenger in a vehicle traveling eastbound on Interstate Highway 20.
Defendant, Brian Hunt, was traveling eastbound on Interstate Highway 20 in the lane
adjacent from Plaintiff's vehicle. Defendant, Brian Hunt, failed to merge lanes when safe
striking the vehicle Plaintiff was a passenger in. At the time of the collision, Defendant,
Brian Hunt, was acting in the course and scope of his employment with Defendant, KLLM
Transport Services, LLC. As a result of the impact, Plaintiff suffered bodily injury.
V. NEGLIGENCE
8. Defendant, Brian Hunt, and Defendant, KLLM Transport Services, LLC,
vicariously, had a duty to exercise ordinary care and operate the vehicle reasonably and
prudently and failed to do so. Defendants were negligent in at least the following respects:
a. Failure to maintain a proper lookout;
b. Failure to make such application of the brakes as a person using
ordinary care would have made;
C: Failure to maintain proper control of the vehicle under the conditions
then and there existing;
d. Failure to turn the vehicle to the right or left to avoid the collision;

e. Traveling at an unsafe speed; and

 

PLAINTIFF'S ORIGINAL PETITION/263170 Page 2
Case 3:21-cv-01237-B Document 1-3 Filed 05/28/21 Page 4of22 PagelD 17

f. Failure to maintain an adequate distance between the vehicle and
the vehicle driven by Plaintiff, Troy Montgomery.
VI. RESPONDEAT SUPERIOR
9: At the time of the accident, Defendant, Brian Hunt, was the agent, servant,
and employee of Defendant, KLLM Transport Services, LLC, and was acting within the
scope of his authority as such agent, servant, and employee. Defendant, KLLM Transport
Services, LLC is liable to Plaintiff for the negligence of Defendant, Brian Hunt, under the
common law doctrine of respondeat superior.
Vil. DAMAGES
10. As a proximate result of Defendants’ negligence, Plaintiff suffered bodily

injury. Plaintiff suffered the following damages:

a. Physical pain and mental anguish in the past and future;
b. Medical expenses in the past and future; and
C. Physical impairment.

VIII. PRAYER

WHEREFORE, PREMISES CONSIDERED, Plaintiff, TROY MONTGOMERY,
respectfully requests that Defendants, BRIAN HUNT AND KLLM TRANSPORT
SERVICES, LLC, be cited to appear and answer, and on final trial, that Plaintiff have

judgment against Defendants for:

a Actual damages;
b. Prejudgment and post-judgment interest as allowed by law;
G. Costs of suit;

d. monetary relief over $250,000 but not more than $1,000,000; and

e. Any further relief, either in law or equity, to which Plaintiff is justly entitled.

 

PLAINTIFF'S ORIGINAL PETITION/263170 Page 3
Case 3:21-cv-01237-B Document 1-3 Filed 05/28/21 Page5of22 PagelD 18

IX. REQUEST FOR DISCLOSURE

Pursuant Rule 194 of the

Texas Rules of Civil Procedure, please disclose all

information identified in Rule 194.2 (a) - (I).

Respectfully submitted,

Ben Abbott & Associates, PLLC
1934 Pendleton Drive

Garland, TX 75041

(972) 263-5555

(817) 263-5555

(972) 682-7586 Facsimile
eService@benabbott.com

/s/ James Bauguss III
by: James Bauguss III

State Bar No. 24045463
ATTORNEYS FOR PLAINTIFF

 

PLAINTIFF'S ORIGINAL PETITION/263170

Page 4
FILED
. 4/7/2021 9:10 AM
Case 3:21-cv-01237-B Document 1-3 Filed 05/28/21 Page6of22 PagelD 19 FELICIA PITRE

DISTRICT CLERK
BEN ABBOTT BEN ABBOTT & ASSOCIATES, PLLC DAVID MADRID deputy
ATTORNEYS AT LAW JAMES BAUGUSS:

LESLEY HOLLOWAY GRIFFIN SCHEUMACK
Managing Partner 1934 PENDLETON DRIVE JOSHUA HANCOCK
as GARLAND, TX 75041 TANICA MANN
Hours: Monday - Friday, 8am - 5pm ROYEAL FRASIER-LEWIS
THOMAS HENDRIX
TELEPHONE: (972) 263-5555 CHELSEY WATTS
(817) 263-5555 BLANCA MILAN
PRE-LIT FAX ; (214) 635-5949 ANDREW VRANKOVIC
LIT FAX: (972) 682-7586 AMANDA GREEN FRENCH

eService@benabbott.com

April 7, 2021

O Via E-Filing

Clerk of Court

Dallas County District Clerk DC-21-04367
George L. Allen, Sr., Courts Building

600 Commerce Street

Dallas, TX 75202

RE: TROY MONTGOMERY v. BRIAN HUNT AND KLLM TRANSPORT
° SERVICES, LLC

Dear Clerk:

Attached for filing is Plaintiff's Original Petition and Request for Disclosure.
Please file the original in the court's records and issue citations for the following:

BRIAN HUNT
1 Pinecrest Drive, Fairmont, Robeson County, NC 28340

KLLM TRANSPORT SERVICES, LLC
Served with process through its registered agent for service, C T
Corporation System, at 1999 Bryan Street Suite 900, Dallas, TX 75201

There will be no copies of the Plaintiff's Original Petition and Request for
Disclosure provided or requested. Please return the citation(s) to me via email at
eService@benabbott.com.

Electronic fees in the amount of $308.00 have been submitted to cover costs
relating to filing and/or issuance of citations.

Should you have any questions, please feel free to contact the undersigned.

Regards,
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Jennifer Zuniga
Legal Assistant
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Case 3:21-cv-01237-B Document 1-3 Filed 05/28/21 Page 11o0f 22 PagelD 24 FILED
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FELICIA PITRE
DISTRICT CLERK
DALLAS CO., TEXAS
Deondria Grant DEPUTY

CAUSE NO. DC-21-04367

TROY MONTGOMERY, § IN THE DISTRICT COURT
§
§
Plaintiff(s), §
VS. § 116TH JUDICIAL DISTRICT
BRIAN HUNT AND KLLM :
TRANSPORT SERVICES, LLC, §
§ DALLAS COUNTY, TEXAS
Defendant(s). §
RETURN OF SERVICE

 

Came to my hand on Friday, April 30, 2021 at 5:54 PM,

Executed at: 1 PINECREST DRIVE, FAIRMONT, NC 28340

within the county of ROBESON at 2:35 PM, on Saturday, May 1, 2021,
by individually and personally delivering to the within named:

BRIAN HUNT

a true copy of this

CITATION and PLAINTIFF'S ORIGINAL PETITION AND REQUEST FOR DISCLOSURE

having first endorsed thereon the date of the delivery.

BEFORE MB, the undersigned authority, on this day personally appeared NICOLE HARDIN who after being duly swom
on oath states: "My name is NICOLE HARDIN. I am a person over eighteen (18) years of age and | am competent to make
this affidavit. I am a resident of the State of North Carolina. 1 have personal knowledge of the facts and statements
contained in this affidavit and aver that each is true and correct. I am not a party to this suit nor related or affiliated with any

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Subscribed and Sworn to by NICOLE HARDIN, Before Me, the undersigned authority, on this

day of May, 2021. Dd, Ae
\ Voor : Sina

Notary Public in and forfhe State of North Carolina
Case 3:21-cv-01237-B Document1-3 Filed 05/28/21 Page 12 of 22 PagelD 25

 

 

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5/5/2021 2:29 PM
FELICIA PITRE
DISTRICT CLERK
DALLAS CO., TEXAS
lrasema Sutherland DEPUTY
CAUSE NO. DC-21-04367

TROY MONTGOMERY, § IN THE DISTRICT COURT
§
§
Plaintiff(s), §
VS. § 116TH JUDICIAL DISTRICT
BRIAN HUNT AND KLLM TRANSPORT :
SERVICES, LLC, §
Defendant(s). § DALLAS COUNTY, TEXAS

RETURN OF SERVICE

Came to my hand on Saturday, May t, 2021 at 11:47 AM,

Executed at: 1999 BRYAN STREET SUITE 900, DALLAS, TX 75201
within the county of DALLAS at 10:54 AM, on Monday, May 3, 2021,
by delivering to the within named:

KLLM TRANSPORT SERVICES, LLC

By delivering to its Registered Agent, CT CORPORATION SYSTEM
By delivering to its Authorized Agent, TERRI THONGSAVAT
a true copy of this

CITATION and PLAINTIFF'S ORIGINAL PETITION AND REQUEST FOR DISCLOSURE

having first endorsed thereon the date of the delivery.

BEFORE ME, the undersigned authority, on this day personally appeared Ernesto Martin Herrera who after being duly
sworn on oath states: "My name is Ernesto Martin Herrera. I am a person not less than eighteen (18) years of age and |
am competent to make this oath, I am a resident of the State of Texas. 1 have personal knowledge of the facts and
statements contained herein and aver that each is true and correct. | am not a party to nor related or affiliated with any
party to this suit. | have no interest in the outcome of the suit. | have never been convicted of a felony or of a
misdemeanor involving moral turpitude. | am familiar with the Texas Rules of Civil Procedure, and the Texas Civil
Practice and Remedies Codes as they apply to service of process. I am certified by the Judicial Branch Certification
Commission to deliver citations and other notices from any District, County and Justice Courts in and for the State of
Texas in compliance with rule 103 and 501.2 of the TRCP.”

» vA

Ernesto Martin Herrera - PSC 4418 - Exp 11/30/21
served@specialdelivery.com

Subscribed and Sworn to by Ernesto Martin Herrera, Before Me, the undersigned authority, on

this , day of May, 2021, (\\ (\
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Notary Public in and for the State of Texas

   
 
   

  
  

GES CHARITY N COLEMAN

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ve alt My Comm. Exp. March 21, 2025 jf

    
Case 3:21-cv-01237-B Document1-3 Filed 05/28/21 Page 15of22 PagelD 28

 

 

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Case 3:21-cv-01237-B Document 1-3 Filed 05/28/21 Page 17 of 22 PagelD 30 as

9/21/2021 8:37 AM

FELICIA PITRE

DISTRICT CLERK

DALLAS CO., TEXAS
CAROLYN SELLERS DEPUTY

CAUSE NO. DC-21-04367

TROY MONTGOMERY, IN THE DISTRICT COURT

PLAINTIFF,

VS.
116'" JUDICIAL DISTRICT
BRIAN HUNT AND KLLM TRANSPORT
SERVICES, LLC

COD 6G) YOR CGR UG COR 6G? UG2 Lon Uo?

DEFENDANTS. DALLAS COUNTY, TEXAS

DEFENDANTS BRIAN HUNT AND KLLM TRANSPORT SERVICES, LLC’S
ORIGINAL ANSWER TO PLAINTIFF’S ORIGINAL PETITION
AND DEMAND FOR JURY TRIAL
TO THE HONORABLE JUDGE OF SAID COURT:

COMES NOW, Brian Hunt and KLLM Transport Services, LLC, Defendants in the
above-styled and numbered cause, and files this, their Original Answer to Plaintiff's Original
Petition and Demand for Jury Trial, and would respectfully show the Court the following:

I.
GENERAL DENIAL

Defendants generally deny each and every, all and singular, the material allegations
contained in the Plaintiff's Original Petition and, being allegations of fact, demands that the
Plaintiff be required to prove such allegations by a preponderance of the evidence if the Plaintiff
can so do.

Il.
DEMAND FOR JURY TRIAL
Defendants hereby demand a trial by jury and submits the appropriate jury fee.

Defendants requests Level III Discovery Plan.

DEFENDANTS BRIAN HUNT AND KLLM TRANSPORT SERVICES, LLC’S ORIGINAL ANSWER
TO PLAINTIFF'S ORIGINAL PETITION AND DEMAND FOR JURY TRIAL -PAGE |
Case 3:21-cv-01237-B Document1-3 Filed 05/28/21 Page 18 of 22 PagelD 31

WHEREFORE, PREMISES CONSIDERED, Defendants pray that Plaintiff takes
nothing by this suit; and that Defendants go hence without delay and recover all costs expended
in Defendants’ behalf. Praying further, Defendants pray for such other and further relief, either
at law or in equity, to which Defendants may be justly entitled.

Respectfully submitted,

CHAMBLEE RYAN, P.C,

Jeffrey W. Ryan
State Bar No. 17469600
jryan@cr.law

 

2777 Stemmons Freeway, Suite 1257
Dallas, Texas 75207

(214) 905-2003

(214) 905-1213 (Facsimile)

ATTORNEY FOR DEFENDANTS
Brian Hunt and KLLM Transport Services,
LLC

CERTIFICATE OF SERVICE

1 do hereby certify that on May 21, 2021 a true and correct copy of the above and
foregoing document has been served via the court’s e-file/e-service system to all counsel of
record.

E-filing: eService@benabbot.com
James Bauguss, II]

Ben Abbott & Associates, PLLC
1934 Pendleton Drive

Garland, Texas 75041

Na

 

 

Jeffrey W. Ryan

DEFENDANTS BRIAN HUNT AND KLLM TRANSPORT SERVICES, LLC'S ORIGINAL ANSWER
TO PLAINTIFF'S ORIGINAL PETITION AND DEMAND FOR JURY TRIAL -PAGE 2
Case 3:21-cv-01237-B Document1-3 Filed 05/28/21 Page 19 of 22 PagelD 32

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Veronica Davila on behalf of Jeffrey Ryan
Bar No. 17469600

vdavila@cr.law

Envelope ID: 53670973

Status as of 5/24/2021 12:16 PM CST

Associated Case Party: TROY MONTGOMERY

 

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James Bauguss III eService@benabbott.com | 5/21/2021 8:37:07 AM | SENT

 

Associated Case Party: KLLM TRANSPORT SERVICES, LLC

 

 

 

 

 

 

Name BarNumber | Email | TimestampSubmitted | Status
Erin Blair eblair@cr.law 6/21/2021 8:37:07 AM | SENT
Veronica Davila vdavila@cr.law 5/21/2021 8:37:07 AM | SENT
Jarad Kent jkent@cr.law 5/21/2021 8:37:07 AM | SENT
Jeffrey W. Ryan | jryan@cr.law 5/21/2021 8:37:07 AM | SENT
Brenda Weidner bweidner@cr.law | 5/21/2021 8:37:07 AM | SENT

 

 

 

 

 

 

 
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FELICIA PITRE

DISTRICT CLERK

DALLAS CO., TEXAS
CAROLYN SELLERS DEPUTY

CAUSE NO. DC-21-04367

TROY MONTGOMERY, IN THE DISTRICT COURT

PLAINTIFF,

VS.
116" JUDICIAL DISTRICT

BRIAN HUNT AND KLLM TRANSPORT
SERVICES, LLC

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DEFENDANTS. DALLAS COUNTY, TEXAS

DEFENDANTS BRIAN HUNT AND KLLM TRANSPORT SERVICES, LLC’S
ORIGINAL ANSWER TO PLAINTIFF’S ORIGINAL PETITION
AND DEMAND FOR JURY TRIAL
TO THE HONORABLE JUDGE OF SAID COURT:

COMES NOW, Brian Hunt and KLLM Transport Services, LLC, Defendants in the
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I.
GENERAL DENIAL

Defendants generally deny each and every, all and singular, the material allegations
contained in the Plaintiff's Original Petition and, being allegations of fact, demands that the
Plaintiff be required to prove such allegations by a preponderance of the evidence if the Plaintiff
can so do.

Il.
DEMAND FOR JURY TRIAL
Defendants hereby demand a trial by jury and submits the appropriate jury fee.

Defendants requests Level II] Discovery Plan.

DEFENDANTS BRIAN HUNT AND KLLM TRANSPORT SERVICES, LLC’S ORIGINAL ANSWER
TO PLAINTIFI’S ORIGINAL PETITION AND DEMAND FOR JURY TRIAL -PAGE |
Case 3:21-cv-01237-B Document 1-3 Filed 05/28/21 Page 21 of 22 PagelD 34

WHEREFORE, PREMISES CONSIDERED, Defendants pray that Plaintiff takes
nothing by this suit; and that Defendants go hence without delay and recover all costs expended
in Defendants” behalf. Praying further, Defendants pray for such other and further relief, either
at law or in equity, to which Defendants may be justly entitled.

Respectfully submitted,

CHAMBLEE RYAN, P.C.

 

 

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State Bar No. 17469600
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ATTORNEY FOR DEFENDANTS
Brian Hunt and KLLM Transport Services,
LLC

CERTIFICATE OF SERVICE

I do hereby certify that on May 21, 2021 a true and correct copy of the above and
foregoing document has been served via the court’s e-file/e-service system to all counsel of
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E-filing: eService@benabbot.com
James Bauguss, II]

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Garland, Texas 75041

 

 

Jeffrey W. Ryan

DEFENDANTS BRIAN HUNT AND KLLM TRANSPORT SERVICES, LLC'S ORIGINAL ANSWER
TO PLAINTIFF'S ORIGINAL PETITION AND DEMAND FOR JURY TRIAL -PAGE 2
Case 3:21-cv-01237-B Document1-3 Filed 05/28/21 Page 22 of 22 PagelD 35

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Veronica Davila on behalf of Jeffrey Ryan
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vdavila@cr.law

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Associated Case Party: TROY MONTGOMERY

 

Name BarNumber | Email TimestampSubmitted | Status

 

James Bauguss III eService@benabbott.com | 5/21/2021 8:37:07 AM | SENT

 

 

 

 

 

 

 

Associated Case Party: KLLM TRANSPORT SERVICES, LLC

 

 

 

 

 

 

Name BarNumber | Email TimestampSubmitted | Status
Erin Blair eblair@cr.law §/21/2021 8:37:07 AM | SENT
Veronica Davila vdavila@er.law | 5/21/2021 8:37:07 AM | SENT
Jarad Kent jkent@cr.law 5/21/2021 8:37:07 AM | SENT
Jeffrey W. Ryan | jryan@cr.law —‘ |: 5/21/2021 8:37:07 AM | SENT
Brenda Weidner bweidner@cr.law | 5/21/2021 8:37:07 AM | SENT

 

 

 

 

 

 

 
